                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:04cr271

UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
            v.                      )                         ORDER
                                    )
ILA LITTLE HOWARD (3),              )
                                    )
            Defendant.              )
____________________________________)


       THIS MATTER is before this Court upon the defendant’s letter motion to modify the

terms of the Judgment regarding payment of monetary penalties. (Doc. No. 409).

       The defendant is serving a sentence following her conviction for prostitution, money

laundering, and drug offenses. (Doc. No. 353: Judgment). The Court ordered that payment of the

penalties was to begin immediately. (Id. at 5). The Court recommended that the defendant

participate in the Bureau of Prisons (BOP) Inmate Financial Responsibility Program (IFRP), and

ordered that any balance remaining after imprisonment be paid in monthly installments while on

supervised release. (Id.). The defendant requests that she not be required to make payments until

after her release. (Doc. No. 409: Motion). She states it is difficult for her family to pay her

monetary penalties because her mother is ill and her two sons are incarcerated. (Id.).

       The Fourth Circuit has directed that such a motion be treated as a habeas corpus petition

under 28 U.S.C. § 2241 because the defendant has attacked the execution of the monetary

penalties order. United States v. Hudson, 221 Fed. Appx. 255, 256 (4th Cir. Mar. 26,

2007)(unpublished). “A habeas petition under § 2241 must, however, be filed in the district in




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which the prisoner is confined.” In re Jones, 226 F.3d 328, 332 (4th Cir. 2000). The defendant is

incarcerated within the Northern District of West Virginia (USP Hazleton). Accordingly, this

Court does not have jurisdiction over the instant motion.

        Even if the Court had jurisdiction, it would deny the motion. First, the defendant failed to

show that she exhausted administrative remedies before seeking review in district court. Jonpoll

v. Thornburgh, 898 F.2d 849, 850 (2nd Cir. 1990). Second, the Fourth Circuit has held that the

BOP has discretion to collect monetary payments through the IFRP when they are ordered due

immediately, and a schedule is set for paying any remainder while on supervised release. United

States v. Watkins, 161 Fed. Appx. 337 (4th Cir. Jan. 19, 2006) (unpublished) (citing Matheny v.

Morrison, 307 F.3d 709, 712 (8th Cir. 2002); McGee v. Clark, 166 F.3d 884, 886 (7th Cir. 1999);

and Montano-Figueroa v. Crabtree, 162 F.3d 548, 549-50 (9th Cir. 1998)). Thus, the Court finds

that it is not in the interests of justice to transfer this matter to the Northern District of West

Virginia pursuant to 28 U.S.C. § 1631.

        IT IS, THEREFORE, ORDERED that Defendant’s Motion (Doc. No. 409) is

DISMISSED WITHOUT PREJUDICE to file an action in the appropriate district court at the

proper time.
                                                       Signed: April 24, 2009




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